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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                     Plaintiff,
       v.                                         Case No.: 13-20807

D-5, WILLIAM WATKINS,                             Honorable Victoria A. Roberts

                     Defendant.
                                     /

                                         ORDER

       This matter having come before the Court upon the request of the Defendant and

the Court being fully aware of the necessity for a Court Order allowing counsel to enter the

custodial facility housing WILLIAM LAMONT WATKINS, with a laptop computer;

       IT IS HEREBY ORDERED that NANCY L. MCGUNN, Deputy Defender, be allowed

to visit inmate WILLIAM LAMONT WATKINS at his place of incarceration and enter the

facility with a laptop computer for purposes of discussing and reviewing discovery material

in the above matter with Mr. Watkins.

       IT IS FURTHER THE ORDER of the Court that Ms. McGunn be allowed to visit with

inmate William Lamont Watkins in a private and confidential area.

       IT IS ORDERED.

                                                  S/Victoria A. Roberts
                                                  United States District Judge
Dated: May 22, 2014



                                          SEAL:
